    Case 08-14631-GMB Doc 197-1 Filed 04/23/08 Entered 04/23/08 12:13:25 Desc
Application In Support of Motion to Compel Payment of Administrative Expense Cla Page 1 of 4



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                                    UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF NEW JERSEY

          IN RE:                                                :      CASE NOS.:     08-14631 (GMB)
                                                                :                     08-14632
          SHAPES / ARCH HOLDINGS, LLC et al.                    :                     08-14633
                                                                :                     08-14634
                                  Debtors.                      :                     08-14635
                                                                :      Chapter 11 Proceedings
                                                                :      Jointly Administered
                                                        :
                                                                :      Hearing Date: May 27, 2008
                                                                                     10:00 a.m.
                                                                       Oral Argument Requested if Opposed

                APPLICATION IN SUPPORT OF COOPER ELECTRIC SUPPLY CO.’S
             MOTION TO COMPEL PAYMENT OF AN ADMINISTRATIVE EXPENSE CLAIM
                         PURSUANT TO 11 U.S.C. §503(a) and §503(b)(9)

          TO:      THE HONORABLE GLORIA M. BURNS
                   United States Bankruptcy Court Judge

                   ALL E-FILERS

                   Cooper Electric Supply Co. (“Cooper”), a creditor and party in interest in the above-

          captioned bankruptcy case, by and through its undersigned attorneys, Nord & DeMaio, hereby

          moves this Court for entry of an Order, pursuant to Bankruptcy Code §105(a), 11 U.S.C.

          §105(a), compelling payment of Cooper’s administrative expense claim pursuant to §503(a) and

          §503(b)(9).
    Case 08-14631-GMB Doc 197-1 Filed 04/23/08 Entered 04/23/08 12:13:25 Desc
Application In Support of Motion to Compel Payment of Administrative Expense Cla Page 2 of 4



                                                   BACKGROUND

                  1.      On March 16, 2008 (the “Petition Date”), Shapes / Arch Holdings LLC (08-

          14631); Shapes LLC (08-14632); Ultra LLC (08-14633); Delair LLC (08-14634); and Accu-Weld

          LLC (08-14635) (collectively, the “Debtors”) filed voluntary petitions for relief under Chapter 11

          of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

                  2.      At the present time, the aforesaid Debtors’ cases are being jointly administered.

                  3.      A supporting brief is unnecessary, as no new legal issues are presented.

                                     FACTS IN SUPPORT OF THE MOTION

                  4.      Cooper is in the business of supplying electrical materials.

                  5.      Upon information and belief, prior to the Petition Date one or more of the

          aforesaid Debtors was/were doing business as “Aluminum Shapes, Inc” (“Debtor”). See within

          Certification of Johnese Dorsey at par. 3 (“Dorsey Certification”) submitted herewith.

                  6.      On or about November 30 1995, a purported authorized representative of the

          Debtor executed Cooper’s Credit Application as a condition precedent to Cooper’s supplying its

          materials to the Debtor on credit. (Dorsey Certification at par. 5).

                  7.      Prior to the Petition Date, and in response to purchase orders received from the

          Debtor, Cooper supplied approximately $24,771.43 of its materials (“Materials”) to the Debtor

          on credit pursuant to the terms of Cooper’s Credit Application. (Dorsey Certification at par.6).

                  8.      To date, Cooper has not been paid for any of its aforesaid Materials. (Dorsey

          Certification at par.7).
    Case 08-14631-GMB Doc 197-1 Filed 04/23/08 Entered 04/23/08 12:13:25 Desc
Application In Support of Motion to Compel Payment of Administrative Expense Cla Page 3 of 4



                  9.        Of the total amount of Cooper’s Materials supplied pre-Petition, $6,244.74 of

          those Materials were supplied within twenty (20) days prior to the Petition Date. (Dorsey

          Certification at par.8).

                  10.       Based upon the foregoing, Cooper has filed a Request for Payment of an

          Administrative Expense in these matters for the sum of $6,244.74 (“Administrative Expense

          Claim”).

                  11.       Cooper has also filed a Proof of Claim in these matters for the sum of $18,526.69.



                                                 RELIEF REQUESTED

                  12.       Pursuant to §503(a) of the Bankruptcy Code, “[a]n entity may timely file a request

          for payment of an administrative expense, or may tardily file such request if permitted by the court

          for cause.” 11 U.S.C. §503(a).

                  13.       Section 503(b) of the Bankruptcy Code further provides:

                          “(b) After notice and a hearing, there shall be allowed administrative expenses, other
                                  than claims allowed under section 502(f) of this title, including – . . . (9) the
          value of                        any goods received by the debtor within 20 days before the date of
          commencement of                         a case under this title in which the goods have been sold to
          the debtor in the ordinary                      course of such debtor’s business.”

          11 U.S.C. §503(b)(9).


                  14.       As demonstrated herein, Cooper is a seller of goods that has sold its goods

          (Materials) to the Debtor in the ordinary course of such Debtor’s business. (See within Dorsey

          Certification.)
    Case 08-14631-GMB Doc 197-1 Filed 04/23/08 Entered 04/23/08 12:13:25 Desc
Application In Support of Motion to Compel Payment of Administrative Expense Cla Page 4 of 4



                   15.    As also demonstrated herein, $6,244.74 of those Materials was “received by the

          Debtor within 20 days before the date of commencement of a case under this title.” (Dorsey

          Certification at par.).

                   16.    Accordingly, Cooper is entitled to receive payment of its Administrative Expense

          Claim.

                          WHEREFORE, Cooper respectfully requests an Order, substantially in the form

          annexed, compelling the Debtors to pay to Cooper its Administrative Expense Claim in the

          amount of $6,244.74, and for such other or further relief as is appropriate.

                                                        Respectfully submitted,

                                                        NORD & DeMAIO
                                                        Attorneys for Cooper Electric Supply, Co.

                                                        BY: /s/ Michael Stafford           .
                                                           Michael J. Stafford, Esq. (MJS-2700)

          Dated: April 23, 2008
